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                EXHIBIT 9
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                                                 Monday, December 13, 2021 at 15:48:10 Eastern Standard Time


Subject:    Re: Grassroots Analy/cs, LLC ("Grassroots")
Date:       Monday, December 13, 2021 at 12:53:20 PM Eastern Standard Time
From:       Daniel Ward
To:         Kris/na.Dahmann@icemiller.com
CC:         Sarah Carr, Kerry McCarthy
AEachments: image001.png

Hi Kris/na,

That does not correspond with the informa/on and evidence we have, which incontrover/bly shows that Ms.
Mckissick-Hawley solicited and received Grassroots trade secret informa/on from Ms. Barton.

By way of example, but not exclusion, on November 27, 2021, Ms. Barton sent Ms. Mckissick-Hawley the
name and private contact informa/on of a Grassroots client.

Addi/onally, on December 2, 2021, Ms. Mckissick-Hawley asked Ms. Barton “Can I send u some lists to match
with giving history plz,” and oﬀered to ﬂy Ms. Barton to meet with her.

On December 6, 2021, Ms. Mckissick-Hawley stated to Ms. Barton “I feel relieved knowing we are going to be
together” “Eric said to reach out to him. He wants u to help him with some things” and “We got this babe.
Will make it into the blockbuster. You’ll help me and Eric – get paid by that, stay stable ﬁnancially- and slowly
build back the company of your dreams. And by slowly, I mean 2-3 months. Your life will be so awesome by
February.”

Also on December 6, 2021, Ms. Barton stated to Ms. Mckissick-Hawley “Damn ok I think I transferred
everyone. *everything. Keeping my pitch mee/ng on the books just transferred to my personal email.” Ms.
Mckissick-Hawley replied “Yes Kate! U got this honey. And if u want to start using a kate@tallpoppy to make
more oﬃcial, happy to move you to our fajita! Hahahahaha. Gsuite. Autocorrect.”

In another exchange, Ms. Barton stated to Ms. Mckissick-Hawley “It’s such inside baseball. In the grand
scheme, C2G is a bug on the windshield. Their reputa/on will worsen and we can take their clients away from
them but not sure where it goes past that.” To which Ms. Mckissick-Hawley replied “Can you send me list of
who they work with at GA and I’ll literally poach their asses tomorrow.” Ms. Barton replied “Yes,” and then
sent Ms. Mckissick-Hawley a list of Grassroots’ clients.

My inves/ga/on began Friday. We are s/ll in the early days. I have lijle doubt that more evidence will
emerge as the inves/ga/on progresses. What I have found to date shows that you have been misinformed by
your client. Ms. Mckissick-Hawley, by and for Tall Poppy, did solicit and receive Grassroots’ trade secret
informa/on.

As I am sure you can understand, my client is gravely concerned about these developments, and has directed
me to move with all deliberate speed. We will be seeking immediate injunc/ve relief to prevent any further
damage to Grassroots. Are you authorized to accept service for Tall Poppy and Ms. Mckissick-Hawley?

Thanks,

Dan Ward

Daniel S. Ward

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From: Kris/na.Dahmann@icemiller.com <Kris/na.Dahmann@icemiller.com>
Date: Monday, December 13, 2021 at 9:00 AM
To: Daniel Ward <dan@wardberry.com>
Subject: Grassroots Analy/cs, LLC ("Grassroots")

Dan:

Ice Miller LLP represents Tall Poppy LLC (“Tall Poppy”) with respect to the lejer you sent to Eden Mckissick-
Hawley on December 10, 2021.

By way of a response to your demand, my client asked that I inform you that it does not possess any of the
referenced Grassroots records, and consequently, it has no records that it can return to Grassroots.

Should have any con/nued concerns, please contact me directly.

With regards,
Kris/na




Kristina Dahmann
Kristina.Dahmann@icemiller.com
p 614-462-2220 f 614-232-6858
c 571-224-8956

Ice Miller LLP
250 West Street
Suite 700

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Suite 700
Columbus, OH 43215

To learn more about the firm and its services, visit us at
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